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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Leslie Lindsey,                                )
                                               )
                Plaintiff                      )
                                               )       19 CV 1753
vs.                                            )
                                               )
Chicago Housing Authority,                     )
McCormack Baron Management, Inc.               )       JURY TRIAL DEMANDED
                                               )
                Defendants                     )

                            PLAINTIFF’S MOTION TO REINSTATE
                             CASE AND REFER TO MAGISTRATE

         Plaintiff, in support of her Motion to Reinstate Case and Refer to Magistrate states as

follows:

         1.     At a status hearing on December 10, 2019, the parties reported to the Court that

they had reached a settlement in principle.

         2.     That same day, this Court dismissed the instant action without prejudice, which

would convert to a dismissal with prejudice in 60 days, or on Monday, February 10, 2020. Dkt.

at 40.

         3.     The parties have been working since the December 10, 2019 status to put together

a written settlement agreement, but do not have a finalized agreement yet.

         4.     On February 10, 2020 this Court gave the parties 30 more days, or until March 11,

2020 until the case is dismissed with prejudice. Dkt. at 43.

         5.     The parties have been working towards a settlement, but do not have a finalized

agreement yet. There are two issues outstanding, one concerning the release of claims and the

other concerning Plaintiff’s Counsel’s right to report this case to a funder organization.



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       6.      Although these two issues are not central to the litigation, Plaintiff no longer

believes that these issues can be resolved without further court assistance. Plaintiff has exhausted

efforts to reach agreement on these issues with Defendants.

       7.      Plaintiff requests that this case be reinstated and referred to the Magistrate for

purposes of holding a settlement conference on these two remaining issues.

       WHEREFORE, Plaintiff respectfully requests that this Court reinstate this case and refer

it to Magistrate Judge Weisman for the purpose of conducting a settlement conference.



Dated: March 11, 2020                                 Respectfully Submitted,

                                                      _/s/ Mary Rosenberg_____________
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